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4
5    Attorney for Defendant
     SALVADOR REYES-SARAVIA
6
7
8                                 IN THE UNITED STATES DISTRICT COURT
9                              FOR THE EASTERN DISTRICT OF CALIFORNIA
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11
12   UNITED STATES OF AMERICA,                     )   No. CR-S 010-304 MCE
                                                   )
13                         Plaintiff,              )
                                                   )   STIPULATION AND ORDER RESETING J&S
14          v.                                     )
                                                   )
15   SALVADOR REYES-SARAVIA,                       )
                   Defendant.                      )
16                                                 )
     _______________________________               )
17                                                 )
18          IT IS HEREBY STIPULATED by and between Assistant United States Attorney Michael
19   Beckwith, Counsel for Plaintiff, and Attorney Dina L. Santos, Counsel for Defendant Salvador Reyes-
20   Saravia, that the date for Judgement and Sentencing be re-scheduled to August 9, 2012. There are pending
21   matters that may affect the ultimate sentence recommended by the government that remain outstanding.
22
23
24          IT IS SO STIPULATED.
25
26   Dated: June 4, 2012                                /S/ Dina L. Santos
                                                        DINA L. SANTOS
27                                                      Attorney for
                                                        Salvador Reyes-Saravia
28
             Case 2:10-cr-00304-MCE Document 154 Filed 06/06/12 Page 2 of 2


1
     Dated: June 4, 2012                      /S/ Michael Beckwith
2                                             MICHAEL BECKWITH
                                              Assistant United States Attorney
3                                             Attorney for Plaintiff
4
5
                                           ORDER
6
           IT IS SO ORDERED.
7
8
      Dated: June 5, 2012
9
10                                          _____________________________
                                            MORRISON C. ENGLAND, JR.
11
                                            UNITED STATES DISTRICT JUDGE
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     Stipulation and Order                     2
